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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
DEVIN G. NUNES,
Plaintiff,
Vv. Civil Action No. 3:19-cv-889

CABLE NEWS NETWORK, INC.,

Defendant.

MEMORANDUM OPINION

This matter is before the Court on the MOTION TO TRANSFER
(ECE No. 14) (the “MOTION”) of Cable News Network, Inc. (“CNN”).
The Court has considered the MOTION, the supporting, opposing, and
reply memoranda, and accompanying exhibits, the AMENDED COMPLAINT
(ECF No. 18), and the ANSWER (ECF No. 23). For the reasons set
forth below, the Southern District of New York (the “SDNY”) is the
more logical and convenient forum in which to adjudicate the claims
here presented. Accordingly, CNN’s MOTION TO TRANSFER (ECF No.
14) will be granted and the action will be transferred to the SDNY.

BACKGROUND

Plaintiff Devin G. Nunes (“Plaintiff” or “Nunes”) represents
California’s 22nd Congressional District in the U.S. House of
Representatives. (ECF No. 18 QW 7.) Nunes is represented by

Steven S. Biss (“Biss”) who maintains offices in Charlottesville,
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Virginia. (Id. at 52 (signature page).) CNN is a Delaware
corporation, headquartered in Georgia. (ECF No. 23 9 8.) Only
CNN is listed as a named defendant. For reasons neither explained
nor readily apparent, the Amended Complaint lists, inter alia,
Vicky Ward (“Ward”) and Chris Cuomo (“Cuomo”) as parties. (ECF
No. 18 GG 9-10.) Ward is a senior reporter for CNN, and Cuomo
anchors Cuomo Prime Time, which airs on CNN. (Id.; ECF No. 23
(I 9-10.) Nunes, Ward, and Cuomo are not alleged to live or work
in Virginia.

The Amended Complaint involves two allegedly defamatory CNN
publications: an online report that CNN published and on-air
coverage of that report. On November 22, 2019, CNN published
online, Exclusive: Giuliani associate willing to tell Congress
Nunes met with ex-Ukrainian official to get dirt on Biden (the
“Article”). (ECF No. 18 7 34.) The Article reported that Joseph
Bondy (“Bondy”), an attorney for Lev Parnas (“Parnas”), informed
CNN that “Mr. Parnas learned from former Ukrainian Prosecutor
General Victor Shokin that Nunes had met with Shokin in Vienna
last December ... .” (ECF No. 16-1 at 2.) The Article stated
that “Congressional travel records show that Nunes and three aides
traveled to Europe from November 30 to December 3, 2018,” but that
the “records do not specify that Nunes and his staff went to Vienna
or Austria, and Nunes was not required to disclose the exact

details of the trip.” (Id. at 3.) The Article also stated that

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CNN had sought comment from Nunes, among others. (Id.) The
Article was written by Ward. (ECF No. 18 @ 9; ECF No. 16-1 at 2.)
Michael Warren (“Warren”), Alex Rogers (“Rogers”), and Audrey Ash
(“Ash”) are listed as contributors. (ECF No. 16-1 at 5.) Ward
submitted a declaration in which she stated that she resides and
works at CNN’s offices in New York, New York. {ECF No. 16-4 7 1.)
She also declared that Warren, Rogers, and Ash work in CNN’s
Washington, D.C. bureau. (Id. G 6.)

After the Article was published, Ward appeared on CNN’s Cuomo
Prime Time and discussed the Article with Cuomo. (ECF No. 18
71 37; ECF No. 16-4 7.) After interviewing Ward, Cuomo

interviewed Representative Katie Hill and discussed the

information in the Article with her. (ECF No. 18 GF 37.) Cuomo
Prime Time was broadcast from and produced in New York. (ECF No.
16-4 7 7.)

The Amended Complaint also alleges that “CNN coordinated
publication of the false and defamatory statements about [Nunes]
across each of its platforms,” including on Facebook and Twitter.
(ECF No. 18 { 38.) It also alleges that Ward’s tweet concerning
the Article “stated or implied that a meeting between [Nunes] and
Shokin actually occurred and that, if the meeting had occurred,
there would have been something wrong with it.” (Id. ¥{ 39

(internal emphasis omitted).)
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Nunes asserts two counts in the Amended Complaint. Count I
alleges that “CNN’s false statements constitute defamation per se”
and that the statements “accuse” or “impute” that Nunes committed
felonies or crimes of moral turpitude, was unfit to “perform the
duties of an office or employment for profit,” and acted without
integrity. (Id. 7 48.) In Count I, Nunes also alleges that “CNN
acted with actual malice and reckless disregard for the truth”
because, inter alia: (1) “CNN, in fact, entertained serious doubts
as to both the veracity of its sole source, Parnas, and the truth
and accuracy of the statements in the [] Article,” (id. & 51(a));
(2) “CNN misrepresented the extent of its investigation and
knowledge,” (id. @ 51(b)); (3) “CNN continued to publish the
statements in the face of unambiguous evidence of falsity,” (id.
(1 51(f£)); and (4) “CNN, acting in concert with Parnas, manufactured
the claims about [Nunes] out of whole cloth,” (id. 7 51(j)). Count
II alleges common law conspiracy and that CNN conspired with Parnas
and his attorneys “for the express purposes of defaming and
injuring [Nunes] ... .” (Id. 7 54.) Nunes seeks over $435
million in damages. (Id. at 51 (prayer for relief).)

Before addressing the MOTION, it is appropriate to note that
another judge of this Court recently said that:

It is with chagrin that [the] Court must begin
to address this motion by observing

that . . . Plaintiff[] engages in ad hominin
attacks against [CNN and others in the Amended
Complaint, ] which the Court cannot
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tolerate. . . . The Court reminds Counsel for
Plaintiff(] that, as an officer of the Court,
he may be sanctioned for engaging in conduct
unbefitting of this Court. Local Rule
83.1(J), which pertains to “Courtroom
Decorum,” has equal force on the papers:
“Counsel shall at all times conduct and demean
themselves with dignity and propriety.”
Steele v. Goodman, 3:17-cv-601, 2019 WL 3367983, at *3 (E.D. Va.
July 25, 2019) (Lauck, J.) (quoting E.D. Va. Loc. Civ. R. 83.1(J)).
Unfortunately, that circumstance also reflects some of the papers

filed in this case.
DISCUSSION
28 U.S.C. § 1404(a) permits the transfer of civil cases and

provides that:

For the convenience of parties and witnesses,

in the interest of justice, a district court

May transfer any civil action to any other

district or division where it might have been

brought or to any district or division to

which all parties have consented.
To determine whether a § 1404(a) transfer is appropriate, “a
district court must make two inquiries: (1) whether the claims
might have been brought in the transferee forum, and (2) whether

the interest of justice and convenience of the parties and

witnesses justify transfer to that forum.” Koh v. Microtek Int'l,

 

Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003). “District courts
within [the Fourth Circuit] consider four factors when deciding
whether to transfer venue: (1) the weight accorded to plaintiff's

choice of venue; (2) witness convenience and access; (3)
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convenience of the parties; and (4) the interests of justice.”
Trs. of the Plumbers & Pipefitters Nat’l Pension Fund v. Plumbing
Servs., Inc., 791 F.3d 436, 444 (4th Cir. 2015). The “decision
whether to transfer an action pursuant to § 1404(a) is committed
to the sound discretion of the district court.” BHP Int’l Inv.,

Inc. v. OnLine Exch., Inc., 105 F. Supp. 2d 493, 498 (E.D. Va.

 

2000) (quoting Versol B.V. v. Hunter Douglas, Inc., 806 F. Supp.

 

582, 591 (E.D. Va. 1992)) (internal quotation marks omitted). The
moving party—here, CNN-has the burden of showing that transfer is

proper. Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d

 

627, 631 (E.D. Va. 2006).

A. The Action Could Have Been Brought in the Southern District of
New York.

The first step in the transfer analysis, which requires that
both venue and jurisdiction with respect to the defendant be proper
in the transferee district, looks to whether the action could have
originally been brought in the Southern District of New York.

Koh, 250 F. Supp. 2d at 630; see also Hengle v. Curry, No. 3:18-

 

cv-100, 2018 WL 3016289, at *5 (E.D. Va. June 15, 2018). Neither
party disputes that the case could have been brought in the SDNY.
(ECF No. 16 at 5-6; ECF No. 20 at 2 n.2.)

Both subject matter and personal jurisdiction exist over CNN
in the SDNY. Subject matter jurisdiction exists pursuant to 28

U.S.C. § 1332 because the “parties are citizens of different States
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and the amount in controversy exceeds the sum or value of $75,000,
exclusive of interest, costs and fees.” (ECF No. 18 { 16.)
Likewise, personal jurisdiction over CNN exists in the SDNY because
CNN transacts business within New York, (ECF No. 16 at 5). N.Y.
C.P.L.R. 302{a) (1) (“[A] court may exercise personal jurisdiction
over any non-domiciliary, . . . who in person or through an
agent: 1. transacts any business within the state... .”).
Accordingly, the SDNY would have jurisdiction over CNN.

The SDNY is also a proper venue for this action. Venue is
proper under 28 U.S.C. § 1391(b) (2) because a “substantial part of
the events or omissions giving rise to the claim occurred” in New
York. Venue is also proper under § 1391(b)(1) because CNN
“resides” in New York, given that CNN is subject to personal
jurisdiction there. Consequently, because jurisdiction and venue
would both be proper in the SDNY, Nunes could have brought this
case there, thus satisfying the first transfer inquiry.

B. The Section 1404(a) Factors Weigh in Favor of Transfer.

In the second step of the § 1404{a) transfer analysis, a court
must weigh the following factors: “(1) the weight accorded to
plaintiff’s choice of venue; (2) witness convenience and access;
(3) convenience of the parties; and (4) the interest of justice.”
Trs. of the Plumbers & Pipefitters Nat’l Pension Fund v. Plumbing
Servs., Inc., 791 F.3d 436, 444 (4th Cir. 2015). These factors

strongly support transfer to the SDNY.
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(1) Plaintiff's Choice of Forum

“As a general rule, a plaintiff’s choice of venue is entitled
to substantial weight in determining whether transfer is
appropriate.” Id. (quoting Bd. of Trs. v. Sullivant Ave. Props.,
LLC, 508 F. Supp. 2d 473, 477 (E.D. Va. 2007)) (internal quotation
marks omitted). “But, if the plaintiff's choice of forum is
neither the nucleus of operative facts nor the plaintiff’s home
forum, the plaintiff’s choice is accorded less weight.” Seaman

v. IAC/InterActive Corp., Inc., No. 3:18-cv-401, 2019 WL 1474392,

 

at *4 (E.D. Va. Apr. 3, 2019).

It is undisputed that the Eastern District of Virginia is not
Nunes’s home forum. (ECF No. 20 at 7 (Nunes stating that he “is
a citizen of California”).) That Nunes “works at the Capitol
within a few minutes’ drive of Virginia,” (id.), and “participates
in oversight of the U.S. national security apparatus, including
the intelligence-related activities of seventeen agencies,
departments, and other elements of the United States Government,
most of which is located in Virginia,” (ECF No. 18 7 7), does not
alter this fact. Additionally, as in Seaman, 2019 WL 1474392, the
offending act at issue-the publication of the Article—did not occur

in Virginia. The Article was researched, written, and published
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in New York and, to some extent, Washington, D.C.! Its subject
matter has nothing to do with Virginia, and the Eastern District
of Virginia is thus not the nucleus of operative facts.

It is true that the Article could have been accessed on the
Internet in Virginia. (See, e.g., ECF No. 18 @ 8.) It is also
true that some of the alleged reputational injury occurred in
Virginia. However, those tethers to Virginia are insufficient to
warrant according Nunes’s choice of forum any significant
preference. “The first alleged connection (Internet access) has
no limiting principle when it comes to online publications. If
accepted, that notion would mean that, in similar cases involving
online publications, a plaintiff’s choice of forum would be given
significant weight in virtually any judicial district because the
Internet is everywhere.” Seaman, 2019 WL 1474392, at *5.

The Eastern District of Virginia is not Nunes’s home forum,
and there is no logical connection between the events in this case
and this district. Thus, Nunes’s choice of forum is entitled only

to slight deference. On the facts of this case, the SDNY is a

 

1 Although Washington, D.C. is geographically close _ to
Virginia, it does not fall within the Eastern District of
Virginia’s boundaries.

2 Although Nunes’s counsel has his offices in Virginia,
“convenience to counsel is not an appropriate consideration in
resolving a motion to transfer venue.” Seaman, 2019 WL 1474392,
at *5 n.7 (quoting Koh v. Microtek Int’l, Inc., 250 F. Supp. 2d
627, 635 (E.D. Va. 2003)) (internal quotation marks omitted).

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more appropriate venue because the Article was primarily written
there and CNN, Ward, and Cuomo reside there.

(2) Witness Convenience and Access

“The convenience of witnesses is of considerable importance
when considering a transfer, especially the convenience of non-
party witnesses, whose location should be afforded greater weight
in deciding a motion to transfer venue.” Id. “The party
asserting witness inconvenience has the burden to proffer, by
affidavit or otherwise, sufficient details respecting the
witnesses and their potential testimony to enable the court to
assess the materiality of evidence and the degree of

inconvenience.” Koh v. Microtek Int’l, Inc., 250 F. Supp. 2d 627,

 

636 (E.D. Va. 2003). In other words, “the influence of this factor
cannot be assessed in the absence of reliable information
identifying the witnesses involved and specifically describing

their testimony.” Bd. of Trs. v. Baylor Heating & Air

 

Conditioning, Inc., 702 F. Supp. 1253, 1258 (EBE.D. Va. 1988). “To
satisfy their burden that a forum is inconvenient for witnesses,
the Defendants must provide particularized information of a
witness’s potential testimony, how that testimony is material and
non-cumulative, or the degree to which it will be inconvenient to
access that testimony in this district.” Seaman, 2019 WL 1474392,

at *5.

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“Witness convenience is often dispositive in transfer
decisions. . . . Inconvenience to a witness whose testimony is
cumulative is not entitled to greater weight. By contrast,
greater weight should be accorded inconvenience to witnesses whose
testimony is central to a claim and whose credibility is also

likely to be an important issue.” Baylor Heating & Air

 

Conditioning, Inc., 702 F. Supp. at 1258. “In many instances, the

 

original forum is convenient for plaintiff's witness, but
inconvenient for defendant’s witnesses, and the reverse is true
for the transferee forum. Under these circumstances, transfer is
inappropriate because the result of transfer would serve only to
‘shift the balance of inconvenience.’” Id. (quoting B. Sci. Mktg.

v. Tekna-Seal Corp., 696 F. Supp. 173, 180 (E.D. Va. 1988)).

 

CNN argues that the witness convenience factor “squarely
supports transfer” because Ward, Cuomo, and Bondy all reside in
New York. (ECF No. 16 at 8; ECF No. 16-4 97 1, 5.) “[I]t is a
fairly elementary proposition that the author of an allegedly
defamatory article [(Ward)] is a key witness about the writing of
the article, the research [s]he did, and the claims [s]Jhe asserts
in the article.” Seaman, 2019 WL 1474392, at *6. With respect

to Cuomo, the Amended Complaint alleges that “Cuomo and Ward

vouched for the [Article] as if it were fact, . . . and published
further defamatory statements about [Nunes] ....”% (ECF No. 18
{@ 37.) Consequently, Cuomo will likely be an additional key

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witness. Likewise, Bondy is likely to be an additional key witness
because he was the primary source of the Article. (See, e.g., id.
71 39; ECF No. 16 at 8.) That all three key witnesses reside in
New York favors transfer.

The only witness Nunes has identified as residing in Virginia
is Parnas’s former attorney, Edward MacMahon, who was mentioned
only once in the Article and who has not been shown to be a material
witness. (ECF No. 20 at 11; see ECF No. 16-1 at 3.) Additionally,
Nunes contends that Jake Tapper (“Tapper”), who resides in
Washington, D.C., and Parnas and Igor Fruman (“Fruman”)—Parnas’s
business partner and co-defendant, (ECF No. 18 { 26)-—who reside in
Florida, are “material witnesses.” (ECF No. 20 at 11.) It is
clear that Tapper is not a material witness. The Amended Complaint
only asserts that Tapper stated that Parnas had a credibility issue
and “republished” the Article on social media, not that Tapper was
directly involved in either the Article or the Cuomo Prime Time
broadcast at issue. (ECF No. 18 (91 4, 38.) With respect to
Parnas and Fruman, even assuming that they are material witnesses,
both of these witnesses would need to travel from Florida, and New
York is likely to be more accessible than Richmond, Virginia.
Additionally, as CNN notes, both Parnas and Fruman are under
indictment in the SDNY. (See ECF No. 24 at 5.)

The Court credits CNN’s assertion that Ward, Cuomo, and Bondy

will be key witnesses and finds that Nunes has provided no evidence

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of any material witnesses or evidence located in this District.
Thus, on this record, this factor favors transfer.

(3) Convenience of the Parties

The third factor is the convenience to the parties in
litigating in either the Eastern District of Virginia or the SDNY.
CNN, as the movant, “must show (1) that the original forum is
convenient for [it,] and (2) that [Nunes] will not be substantially

inconvenienced by the transfer.” Seaman v. IAC/InterActive Corp.,

 

Inc., No. 3:18-cv-401, 2019 WL 1474392, at *6 (E.D. Va. Apr. 3,
2019). The parties’ residence “is a consideration in this
assessment, but ‘residence is not a controlling factor and may be
outweighed in the context of a particular case by countervailing
considerations relevant to the convenience of the witnesses and
the interest of justice.’” Id. (quoting 15 Fed. Prac. & Proc.
Juris. § 3849 (4th ed.)).

This factor supports transfer. Litigating in New York will
clearly be more convenient for CNN, given that it “has a
substantial presence in New York” and two of its key witnesses—
Ward and Cuomo-reside and maintain their records in New York.
(See ECF No. 16 at 9.) In contrast, because Nunes does not live
in Virginia, let alone in Richmond, he will have to travel whether
the action is tried in New York or in this district. Although
Nunes works in Washington, D.C. and the distance between

Washington, D.C. and New York is greater than the distance between

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Washington, D.C. and Richmond, Nunes “has not identified any reason
why he would not or could not travel to New York.” See Seaman,
2019 WL 1474392, at *6. Indeed, Nunes “is a citizen of
California,” (ECF No. 18 @@ 7), and will likely find it easier to
travel from California to one of New York’s three major airports
than to Richmond, Virginia.

Consequently, although “the SDNY will require some additional
travel for [Nunes], it will be significantly more convenient for
[CNN, its] witnesses, and the production of evidence.” Seaman,
2019 WL 1474392, at *7. “[Wjhere the plaintiff chooses a forum
away from home .. ., plaintiff's venue choice is given less weight
and if the venue substantially inconveniences defendants, transfer

may be ordered.” Bd. of Trs. v. Baylor Heating & Air Conditioning,

 

Inc., 702 F. Supp. 1253, 1259 (E.D. Va. 1988). Because (1)
litigating in the SDNY is substantially more convenient for CNN,
(2) Virginia is not Nunes’s home forum, and (3) Nunes has not
identified any reason why he cannot travel to New York, this factor
supports transfer.

(4) Interest of Justice

“The last factor for the Court to consider is ‘the interest
of justice,’ which encompasses public interest factors aimed at
‘systemic integrity and fairness.’” Seaman, 2019 WL 1474392, at
*7 (quoting Stewart Org. v. Ricoh Corp., 487 U.S. 22, 30 (1988)).

“Judicial economy and the avoidance of inconsistent judgments are

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prominent among the principal elements of systemic integrity.”
Id. Other factors include “the pendency of a related action, the
court’s familiarity with the applicable law, docket conditions,
access to premises that might have to be viewed, the possibility
of unfair trial, the ability to join other parties, and the

possibility of harassment.” Koh v. Microtek Int’l, Inc., 250 PF.

 

Supp. 2d 627, 639 (E.D. Va. 2003). “Systematic integrity must
also take account of a party’s attempt to game the federal courts
through forum manipulation.” Seaman, 2019 WL 1474392, at *7
(quoting Hengle v. Curry, No. 3:18-cv-100, 2018 WL 3016289, at *11
(E.D. Va. June 15, 2018)) (internal quotation marks and alteration
omitted).

The parties dispute whether California or New York law applies
to this case. (ECF No. 16 at 10-11; ECF No. 20 at 12-14.) If,
as Nunes contends, New York law applies, the Southern District of
New York clearly would be more familiar with New York substantive
law and would be better suited to hear this action. And, if
California law applies, as CNN contends, the Court has no doubt
that the SDNY is familiar with California defamation law and able
to try this case.

With respect to docket conditions, it is possible that the
case may be resolved more promptly in the EDVA than in the SDNY.

However, “the docket conditions here and in the SDNY are not

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drastically different.”3 Seaman, 2019 WL 1474392, at *7. “Thus,
the differences in docket conditions between the SDNY and the EDVA
are minor considerations that receive little weight if all other
reasonable and logical factors result in a transfer of venue.”
Id. (quoting Koh, 250 F. Supp. 2d at 639) (internal quotation marks
and alteration omitted). For the aforementioned reasons, the
other reasonable and logical factors support transferring this
case.

Lastly, the Court has significant concerns about forum
shopping. As the Court has explained to Plaintiff’s counsel on
numerous occasions, the “Court cannot stand as a willing repository
for cases which have no real nexus to this district. The ‘rocket
docket’ certainly attracts plaintiff[s], but the Court must ensure
that this attraction does not dull the ability of the Court to
continue to act in an expeditious manner.” Id. (quoting Phillips

v. Uber Techs., Inc., No. 3:15-cv-544, 2016 WL 165024, at *3 (E.D.

 

 

Va. Jan. 13, 2016)) (internal citations and quotation marks
omitted). Because this case is only slightly connected to this
3 The Court acknowledges that New York has been more severely

impacted by the COVID-19 pandemic. However, the Eastern District
of Virginia has, like most courts in the country, been affected by
the pandemic as well, and the magnitude of any delays in trying
the case in New York due to the pandemic is not likely to be so
significant as to cause this factor to militate against transfer.

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district, this factor militates in favor of transfer to the
Southern District of New York.4
CONCLUSION

For the reasons set forth above, CNN has satisfied its burden
of showing that a § 1404(a) transfer is warranted. Accordingly,
CNN's MOTION TO TRANSFER (ECF No. 14) will be granted, and the
case will be transferred to the Southern District of New York.

It is so ORDERED.

/s/ RED

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: May 21 , 2020

 

4 CNN has also filed a MOTION TO DISMISS AMENDED COMPLAINT (ECF
No. 21). Because this action will be transferred to the Southern
District of New York, the Court will not resolve the pending MOTION
TO DISMISS AMENDED COMPLAINT (ECF No. 21), which is best resolved
by the transferee court.

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